          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 1 of 10




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                            |
                                  |
NEIGHBORS LEGACY HOLDINGS, INC., |                                         CASE NO. 18-33836-H1-11
                                  |                                        Chapter 11
      Debtor                      |
                                  |
MARK SHAPIRO, TRUSTEE             |
OF THE UNSECURED CREDITOR TRUST |
OF NEIGHBORS LEGACY HOLDINGS,     |
INC. AND ITS DEBTOR AFFILIATES,   |
      Plaintiff                   |
                                  |
VS.                               |                                        ADV. NO. 20-03016
                                  |
TOM VO, ET AL.,                   |                                        JURY DEMANDED
      Defendants                  |


                            ORIGINAL ANSWER OF DEFENDANT
                        BANKYMED EMERGENCY MANAGEMENT PLLC


TO THE HONORABLE MARVIN ISGUR UNITED STATES BANKRUPTCY JUDGE:

         Comes now Bankymed Emergency Management PLLC, a professional limited liability

company chartered and existing under the laws of the State of Texas (“Bankymed”), formerly

known as Bankymed Emergency Management LLC, one of the Defendants in the above

numbered and titled Adversary Proceeding, and for answer to the Plaintiff's First Amended

Complaint (doc 4, the "Complaint") filed by Mark Shapiro, Trustee of the Unsecured Creditor

Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates (the "Trustee"), Bankymed

respectfully represents:




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 1
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 2 of 10




                                      Response to Jurisdiction and Venue

         1. Bankymed admits paragraphs 1 through 6 of the Complaint and agrees that this Court

has jurisdiction and venue to consider the Complaint as to Bankymed. Bankymed consents to

the entry of final orders or judgment by this honorable Court pursuant to BLR 7008-1 and 7012-

1. Bankymed does not know whether the Court has jurisdiction or venue to consider the

Complaint as to Defendants other than Bankymed.

                                                 Response to Parties

         2. Bankymed admits the allegation of paragraph 7 of the Complaint that the Plaintiff,

Mark Shapiro, is the Trustee of the Unsecured Creditor Trust (the "Trust") of Neighbors Legacy

Holdings, Inc., and its affiliates (the "Debtors").

         3. Bankymed denies the allegation of paragraph 45 of the Complaint that Bankymed

Emergency Management, LLC is a Texas limited liability company. On December 20, 2016, the

name of Bankymed was changed to Bankymed Emergency Management PLLC and the type of

entity was changed to a professional limited liability company.

         4. Bankymed does not have knowledge about and is not able to either admit or deny the

allegations of paragraphs 8 through 44 and 46 through 86 of the Complaint. Bankymed does not

know the correct names and identity of the other defendants named in the Complaint.

                                         Response to Background Facts

         5. Bankymed does not have knowledge about and is not able to either admit or deny the

allegations of paragraphs 87 through 91 of the Complaint concerning the bankruptcy cases of the

Neighbors Debtor Entities, the Chapter 11 Plan, or the creation of the Unsecured Creditor Trust.




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 2
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 3 of 10




                   Neighbors Emergency Centers Alleged Transfers to Defendants

         6. Bankymed denies the allegations of paragraphs 92 through 96 of the Complaint and

demands strict proof thereof.

         7. Bankymed denies that Bankymed ever made any loans to the Neighbor Debtor

Entities (as that term is defined in the Complaint).

         8. Bankymed denies that Bankymed was a creditor of any of the Neighbor Debtor

Entities.

         9. Bankymed denies that it received any payment alleged in the Amended Complaint

and Exhibit A to the Amended Complaint to have been made to Bankymed.

         10. Bankymed did not receive any payments or transfers from any of the debtor entities

except for only NEC Port Arthur Emergency Center, LP. Bankymed denies that NEC Port

Arthur Emergency Center, LP was insolvent on the dates of alleged transfers to Bankymed.

                                  Response to Claims and Causes of Action

         11. Bankymed denies the allegations of paragraphs 97 through 105 of the Complaint as

they concern Bankymed, and demands strict proof thereof.

         12. Bankymed does not have knowledge about and is not able to either admit or deny

the allegations of paragraphs 97 through 105 of the Complaint with respect to defendants other

than Bankymed.

                             Facts Applicable to All of the Trustee's Theories

         13. Bankymed did not receive any payments or transfers from any of the debtor entities

except for NEC Port Arthur Emergency Center, L.P.




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 3
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 4 of 10




         14. NEC Port Arthur Emergency Center, L.P. was non insolvent on the dates of any of

the alleged transfers. NEC Port Arthur Emergency, LP’s Financial Statements prove that NEC

Port Arthur Emergency, LP was solvent through October 31, 2017.

         15. Bankymed invested $75,000.00 to purchase a 3% limited partnership interest in

NEC Port Arthur Emergency Center, L.P. The total of all payments received by Bankymed from

NEC Port Arthur, LP. is less than the amount which Bankymed paid to purchase its limited

partnership interest. The amount invested is value and reasonably equivalent value for the

payments received.

         16. NEC Port Arthur Emergency Center, L.P. is a pass through entity for federal income

taxes, and did not pay taxes on its income directly to the United States Treasury. The federal

income tax liability of NEC Port Arthur Emergency Center, L.P. was passed through to the

limited partners in proportion to each partners’ share of ownership of the limited partnership, and

reported on K-1 statements to the individual partners. The money paid by NEC Port Arthur

Emergency Center, L.P. to its limited partners was for the purpose and in amounts to enable each

partner to pay its share of the partnership’s federal income tax liability. The amounts paid to

Bankymed were for that purpose, and Bankymed paid its share of the federal income tax liability

the partnership to the United States Treasury with Bankymed’s federal income tax returns.

Payment by Bankymed of its share of the federal income tax liability of NEC Port Arthur

Emergency Center, L.P. is value and reasonably equivalent value for the amounts received.

         Defenses to the Trustee's Claims for Alleged Receipt of Fraudulent Transfers
                        Under Bankruptcy Code Sections 548 and 550.

         17. NEC Port Arthur Emergency Center, L.P. did not make any payments or transfers to

Bankymed with actual intent to hinder, delay, or defraud any entity to which NEC Port Arthur




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 4
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 5 of 10




Emergency Center, L.P was indebted. Bankymed is not liable to the Trustee under 11 U.S.C.

Section 548(a)(1)(A).

         18. On the dates of the alleged transfers, and at all relevant times, NEC Port Arthur

Emergency Center, LP was not insolvent, and did not become insolvent as a result of any

payments or transfers to Bankymed. Bankymed is not liable to the Trustee under 11 U.S.C.

Section 548(a)(1)(B)(ii).

         19. NEC Port Arthur Emergency Center, LP received reasonably equivalent value in

exchange for any alleged transfer to Bankymed. Bankymed invested $75,000.00 to purchase 3

percent limited partnership interest in NEC Port Arthur Emergency Center, LP, and the amount

invested is greater than the amount of any and all payments and transfers from NEC Port Arthur

Emergency Center, LP to Bankymed. Bankymed is not liable to the Trustee under 11 U.S.C.

Section 548(a)(1)(B)(i).

         20. Bankymed gave value to NEC Port Arthur Emergency Center, LP in good faith and

without knowledge that any alleged transfer to Bankymed was made by NEC Port Arthur

Emergency Center, LP with actual intent to hinder, delay or defraud any creditor. Bankymed

invested $75,000.00 to purchase a 3 percent limited partnership interest in NEC Port Arthur

Emergency Center, LP, and the amount invested is value from which NEC Port Arthur

Emergency Center, LP benefited, and is more than the amount of all payments and transfers

which Bankymed received from NEC Port Arthur Emergency Center, LP. In addition,

Bankymed paid its proportionate share of federal income taxes based upon income of NEC Port

Arthur Emergency Center, L.P. The Trustee's claims against Bankymed are barred by 11 U.S.C.

Section 548(c) and Section 550(b).




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 5
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 6 of 10




         21. The Trustee's claims against Bankymed under Bankruptcy Code Sections 548 and

550 are barred by the applicable statutes of limitations. The transfers alleged to have been made

to Bankymed allegedly took place more than two years before the date on which the Debtors'

petitions were filed, and The Trustee's claims against Bankymed under Sections 548 and 550 of

the Bankruptcy Code are barred by the two year statute of limitations of 11 U.S.C. 548(a)(1).

         Defenses to the Trustee's Claims for Alleged Receipt of Fraudulent Transfers
                  Under Texas Business and Commerce Code Section 24.006

         22. Bankymed did not receive any payments or transfers from any of the debtor entities

except for NEC Port Arthur Emergency Center, L.P.

         23. Bankymed did not receive any payments or transfers from NEC Port Arthur

Emergency Center, L.P which were made with actual intent to hinder, delay or defraud its

creditors. There are no "Badges of Fraud" as set out in Tex. Bus. & Comm. Code Section

24.005(b). No Badges of Fraud are alleged in the Complaint. Bankymed is not liable to the

Trustee under Tex. Bus. & Comm. Code § 24.005.

         24. On the dates of the alleged transfers, and at all relevant times, NEC Port Arthur

Emergency Center, LP was not insolvent, and did not become insolvent as a result of any

payments or transfers to Bankymed. Bankymed is not liable to the Trustee under Tex. Bus. &

Comm. Code § 24.006(a).

         25. Bankymed gave reasonably equivalent value for any transfers from the Debtors.

Bankymed invested $75,000.00 to purchase a 3 percent limited partnership interest NEC Port

Arthur Emergency Center LP. Bankymed's this capital contribution is “value” as defined in

Tex. Bus. Comm. Code § 24.004(a) and is "reasonably equivalent value" as defined in Tex. Bus.

Comm. Code § 24.004(d). Bankymed invested $75,000 to purchase its limited partner interest

in NEC Port Arthur Emergency Center LP in good faith, and any transfers made by NEC Port

Original Answer of Defendant Bankymed Emergency Management PLLC – Page 6
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 7 of 10




Arthur Emergency Center LP to Bankymed were in good faith for value, from which NEC Port

Arthur Emergency Center, LP benefited, and is more than the amount of all payments and

transfers which Bankymed received from NEC Port Arthur Emergency Center, LP. In addition,

Bankymed paid its proportionate share of federal income taxes based upon income of NEC Port

Arthur Emergency Center, L.P. Bankymed is not liable to the Trustee under Tex. Bus.& Comm.

Code § 24.009(a).

         26. The Trustee's claims against Bankymed under Tex. Bus & Comm. Code § 24.006(b)

are barred by the statute of limitations. For transfers to an insider which are sought to be avoided

under § 24.006 (b), the statute of limitations is one year after the transfer is made. Bankymed

did not receive any payments or transfers from NEC Port Arthur Emergency Center LP, or any

other debtor entity, within one year before the date of the Debtors’ petitions and none are alleged

to have been made in the Trustee’s Complaint.

                                                COUNTER CLAIM

         27. The Trustee’s claims against Bankymed are without merit. Bankymed is entitled to

recover its reasonable attorney’s fees for defending this Complaint from the Plaintiff, the Trustee

of the Unsecured Creditor Trust of Neighbors Legacy Holdings, Inc. and its Debtor Affiliates,

pursuant to Tex. Bus. & Comm. Code § 24.013. A reasonable attorney’s fee for Bankymed for

the services of its attorneys is the sum of at least $30,000.

                                                        PRAYER

         Wherefore, premises considered, Bankymed Emergency Management PLLC prays that

the Trustee take nothing from Bankymed, and that Bankymed recover its costs and reasonable

attorney’s fees from the Plaintiff, the Trustee of the Unsecured Creditor Trust of Neighbors




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 7
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 8 of 10




Legacy Holdings, Inc. and its Debtor Affiliates, and for such and further relief to which

Bankymed may show itself to be justly entitled.

                                                          Respectfully submitted,

                                                          ROSS, BANKS, MAY, CRON & CAVIN, P.C.

                                                          By:
                                                          John Mayer
                                                          Texas Bar Number 13274500
                                                          Southern District Number 502092
                                                          7700 San Felipe, Suite 550
                                                          Houston, Texas 77063
                                                          Phone 713-626-1200
                                                          Email jmayer@rossbanks.com
                                                          Attorney for Defendant
                                                          Bankymed Emergency Management PLLC


                                         CERTIFICATE OF SERVICE

        I certify that true copies of this answer were served upon the Trustee by email to the
Trustee’s attorney of record Clifford Walston of the law firm of Walston Bowlin, LLP, to email
address cliff@walstonbowlin.com, and on all persons who have entered an appearance in this
case electronically by means of the Court’s CM/ECF System contemporaneously with filing.

       I certify that true copies of this motion and proposed order were served upon the Trustee,
the Trustee’s attorney, and all of the Defendants by mailing same, properly addressed and
postage prepaid, to the persons and parties whose names are set forth in the attached Mailing list.

         This service was completed on June 30, 2020.

                                                          .
                                                          John Mayer




Original Answer of Defendant Bankymed Emergency Management PLLC – Page 8
          Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 9 of 10




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         Case 20-03016 Document 18 Filed in TXSB on 06/30/20 Page 10 of 10




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